                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




 In re Application of MICHAEL PENNER
 and STUART SYBERSMA in their capacity as
 Joint Official Liquidators of BTU POWER
 COMPANY (IN OFFICIAL LIQUIDATION)                                17-mc-91284-IT
 for Order Granting Leave to Conduct Discovery
 for Use in Proceeding in Foreign Tribunal
 Pursuant to 28 U.S.C. § 1782,

                       Applicants.




   ORDER REGARDING RENEWED APPLICATION FOR LEAVE TO CONDUCT
                      DISCOVERY PURSUANT TO 28 U.S.C. 8 1782

       Michael Penner and Stuart Sybersma in their capacity as Joint Official Liquidators

("JOLs") of BTU PowerCompany (In Official Liquidation) (the"JOLs") submitted a Renewed

Application for OrderGranting Leaveto Conduct Discovery for Use in Proceeding in Foreign

Tribunal Pursuant to 28 U.S.C. § 1782 (the " Renewed Application") on September 21,2017.

The JOLs seek to obtain limited discovery from Alessandro Ucciferri, Geoffrey Kent, Daniel

Rorabaugh, Tiedemann & Associates, P.O., and Bank of AmericaCorp. (collectively the

"Respondents") for use in a foreign proceeding thatthe JOLs reasonably contemplate initiating

in the Grand Court against Wael Almazeedi.

       The courtpreviously ordered that if the JOLs soughtto proceed exparte, they "shall

show cause why respondents and/orMr. Almazeedi shoxild not be givennotice and an

opportunity to be heard regarding proposed discovery." Order [#6]. TheApplicants' papers, in

seeking leaveto effectformal service on Mr. Almazeedi and Respondents, demonstrate no

objection to Mr. Almazeedi or Respondents receiving notice of these proceedings. Accordingly,
it is hereby ORDERED that:

      (1) By September 27,2017, the JOLs shall endeavor to give effective notice to

          Respondents and Mr. Almazeedi ofthese proceedings, by mailing and e-emailing

          copies (with all accompanying exhibits) ofthe (1) Application [#1], Renewed

          Application [#7] and supporting Memorandum of Law [#8]; (2) Affidavit of Michael

          Penner [#9]; (3) Affidavit of Thomas M. Ciampa [#10]; and (4) this Order, to the

          current and/or last known addresses of Mr. Almazeedi and Respondents, and to Mr.

          Almazeed's current or former counsel, John Rauseo;

      (2) Any opposition to the request that this Court authorize the JOLs to serve limited

          discovery under 28 U.C.C. § 1782 and Intel Corp. v. Advanced Micro Devices. Inc..

          542 U.S. 241 (2004), shall be filed and served through the court's ECF system by

          October 11,2017; and

      (3) If Respondentsor Mr. Almazeedi oppose the Court authorizingthe service of limited

          discovery, that they show cause before this Court at a hearing on October 23,2017, at

          2:30 P.M., why such order should not be issued.


SO ORDERED, this. 7 2.           ^day                       2017

                                                    United States District Judge
